         Case 1:17-cv-01889-RA-SLC Document 177 Filed 09/25/19 Page 1 of 1

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UNITED STATES DISTRICT COURT                                           : EIECTRO\TICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
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 BMADDOX ENTERPRISES LLC,

                             Plaintiff,
                                                              No. 17-CV-1889 (RA)
                        V.
                                                                           ORDER
 MILAD OSKOUIE, OSKO M LTD, and
 PLATINUM AVENUE HOLDINGS PTY,
 LTD,
                    Defendants.


RONNIE ABRAMS, United States District Judge:

         The Court has received an email from Defendant Milad Oskouie updating his mailing

address as follows: Tehran Province, Tehran, #20/4, West Seventh St., Ajoudaniye Ave, Iran. The

Clerk of Court is respectfully directed to update Mr. Oskouie's mailing address on the docket.

         Mr. Oskouie is advised that all communications with the Court should be mailed to the pro

se office at the following address:

         United States District Court, Southern District of New York
         Pro Se Intake Unit
         Room200
         500 Pearl Street
         New York, NY 10007

SO ORDERED.

Dated:      September 25, 2019
            New York, New York

                                                  Ronnie Abrams
                                                  United States District Judge
